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       Uber Technologies, Inc.
 14
 15                             UNITED STATES DISTRICT COURT
 16                           CENTRAL DISTRICT OF CALIFORNIA
 17                                       WESTERN DIVISION
 18
 19    ASFIKE KOLLOUKIAN, on behalf of              Case No. 2:15-cv-2856-PSG-JEM
       herself and those similarly situated,
 20                                                 JOINT STIPULATION OF
                             Plaintiff,             DISMISSAL WITH PREJUDICE
 21
                v.
 22
       UBER TECHNOLOGIES, INC.,
 23
                             Defendant.
 24
 25             Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff Asfike
 26    Kolloukian and Defendant Uber Technologies, Inc. hereby agree to the dismissal
 27    with prejudice of Plaintiff’s individual claims, with each party to bear its own
 28    attorneys’ fees and costs.                 -1-
                                                 JOINT STIPULATION OF DISMISSAL WITH PREJUDICE
                                                                             2:15-cv-2856-PSG-JEM
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  1             IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
  2
       DATED: March 12, 2020                     PERKINS COIE LLP
  3
  4                                              By: /s/ James G. Snell
                                                 James G. Snell
  5                                              Donald J. Kula
                                                 Nicola C. Menaldo, pro hac vice
  6
                                                 Attorneys for Defendant
  7                                              Uber Technologies, Inc.
  8
                                                 KNAPP, PETERSEN & CLARKE
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 16                                              Asfike Kolloukian

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                                          JOINT STIPULATION OF DISMISSAL WITH PREJUDICE
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  1                                    L.R. 5-4.3.4 Attestation
  2             Pursuant to Local Rule 5-4.3.4, I attest on the signature page of the document
  3
       that all other signatories listed, and on whose behalf the filing is submitted, concur
  4
  5    in the filing’s content and have authorized the filing.

  6                                       /s/ James G. Snell
  7                                         James G. Snell
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                                                 JOINT STIPULATION OF DISMISSAL WITH PREJUDICE
                                                                             2:15-cv-2856-PSG-JEM
       147532284.1
